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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS


                                                        )       CHAPTER 7
 IN RE:                                                 )
                                                        )       CASE NO. 09-35324
              SONYA PORRETTO,                           )
                                                        )
                         DEBTOR.                        )
                                                        )

 SONYA PORRETTO,                                        )
                                                        )
                         PLAINTIFF,                     )
 vs.                                                    )       ADVERSARY CASE NO. ___________
                                                        )
 THE GALVESTON PARK BOARD OF                            )
 TRUSTEES, CITY OF GALVESTON,                           )
 TEXAS GENERAL LAND OFFICE AND                          )
 GEORGE     B.     BUSH,   LAND                         )
 COMMISSIONER   OF    THE TEXAS                         )
 GENERAL LAND OFFICE,                                   )
                                                        )
                         DEFENDANTS.                    )


       ORIGINAL COMPLAINT AND APPLICATION FOR WRIT OF MANDAMUS

                                I.      NATURE OF THE ACTION

          This Complaint is to: 1) stop the Galveston Park Board of Trustees (“Park Board”), City

of Galveston (“City”), and Texas General Land Office (“GLO”) from continuing to interfere with

Ms. Porretto’s right to use, enjoy and alienate the Porretto Beach Property and stop the retaliatory

actions by the City and Park Board; and, 2) compensate Ms. Porretto for the damages the

Defendants have caused to the Porretto Beach Property.

                                II.   JURISDICTION AND VENUE

         1.      This Court has jurisdiction over this complaint pursuant to 28 U.S.C. § 1334(b) as

       it arises from or relates to the main bankruptcy case.



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       2.      This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       3.      Pursuant to Rule 7008 of the Federal Rules of Bankruptcy Procedure and Rule

7008-1 of the Bankruptcy Local Rules for the Southern District of Texas, Ms. Porretto consents to

the entry of final orders or judgment by this Court in connection with this adversary proceeding if

it is determined that, absent consent of the parties, the Court cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

       4.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.      The legislature has waived sovereign immunity for Plaintiff’s claims under Article

I §17 of the Texas Constitution.

                                         III.    PARTIES

      6.      Plaintiff is the Debtor in this case, Sonya Porretto who is the owner of the Porretto
Beach Property.

      7.      Defendant THE CITY OF GALVESTON PARK BOARD OF TRUSTEES is a
government entity that may be served with process through its Executive Director, Kelly De
Schaun, at 601 Tremont, Galveston, TX, 77550 or wherever said officer may be found.

       8.      Defendant THE CITY OF GALVESTON, TEXAS is a government entity that may
be served with process through its Mayor Craig Brown, Clerk, City Secretary or Treasurer at 823
Rosenberg Suite 201 Galveston, TX 77550, or wherever said officers may be found.

      9.      Defendant GEORGE P. BUSH IS THE COMMISSIONER OF THE TEXAS
GENERAL LAND OFFICE and is a natural person who may be served with process at his place
of employment at 1700 N. Congress Avenue, Suite 935 Austin, TX 78701, or wherever else he
may be found.

       10.    Defendant TEXAS GENERAL LAND OFFICE (“GLO”) is an agency of the state
of Texas and can be served by serving its Commissioner, George P. Bush at 1700 N. Congress
Avenue, Suite 935 Austin, TX 78701

                          IV.      BRIEF OVERVIEW OF THE CASE

       11.     Ms. Porretto spent decades defending against the Defendants' wrongful control and

ownership claims of Porretto Beach. Ms. Porretto was successful in prior litigation with the

Defendants, which resulted in the Texas Supreme Court ruling in Ms. Porretto’s favor and a final

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judgment on remand was entered and not appealed. In the pursuit of preserving her family’s

legacy, Ms. Porretto sacrificed everything and was forced to file bankruptcy to fight off the land

grab by the State.1

       12.     Now, over 12 years after filing bankruptcy and after the Bankruptcy Court approved

the abandonment of the Porretto Beach Property by the Chapter 7 Trustee, Ms. Porretto is hit with

continued interference by the Defendants disrupting her use, enjoyment, and alienation of the

Porretto Beach Property.2 However, now, there is no question that the damages the Defendants

have caused to the Porretto Beach Property are ripe.

       Stewart Beach Drainage Project Floods Porretto Beach

       13.     The Porretto Beach parking lot for 6th to 10th Street has flooded six times since the

Park Board began the May 2021 Stewart Beach Drainage Project. The last time it flooded was the

same day as this Complaint, June 25, 2021.3 Adding insult to injury, on the morning of June 25,

2021, the City began installing “No Parking after 12pm Saturday” signs along Seawall directly in

front of Porretto Beach knowing Porretto Beach’s parking lot was flooded. At nearly the same

time City crews were posting the “No Parking” signs, a door tag with a 24 hour disconnect notice

was hand delivered to the home of Ms. Porretto’s 84-year-old mother. Below is a picture of one

of the “No Parking” signs:




1
  On information and belief, other property owners subjected to similar land grabs benefitted from
Ms. Porretto’s sacrifice and were able to quietly reclaim their properties without the need to pursue
litigation or being blacklisted like Ms. Porretto.
2
  The Chapter 7 Trustee also was met with continued acts of resistance from the Defendants, in
particular the Park Board, who attempted to assert control over the property in violation of the
automatic stay. See e.g., Exhibit 3 en globo (communications between Trustee and Park Board
counsel).
3
  On June 24, 2021, Mr. Alex Nelson, Ms. Porretto’s son, spoke about the flooding issue at the
during public comment at the Galveston City Council Meeting. He specifically raised concerns
about retaliation against his mother and asked, “What is or will be done in the near term to stop
the flooding of nearby property [from Stewart Beach]?”
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       14.    Porretto Beach has offered parking on site for many years. The parking fee is $10

with “in and out” parking privileges (when the parking lot is not flooded) and free parking for

Galveston residents. The Park Board charges $15 for one-time entry.

       15.    The Park Board manages the public beaches in Galveston. The Stewart Beach

Drainage Project was apparently required to bring the Park Board into compliance and ensure it

could qualify for Federal and State beach renourishment and grant funds. On information and

belief, the flooding on Stewart Beach was due to the Park Board’s years of excavating sand from

Stewart Beach under the guise of maintenance. Further, on information and belief, after the City

was advised of potential financial improprieties by the Park Board, the City Manager had City

Staff conduct an audit of the Park Board and was aware of the improprieties. Reportedly, an audit

was prepared and the City Manager reviewed it but it was subsequently buried from the sunlight.



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       16.     Ms. Porretto and other residents objected to the Stewart Beach Drainage Project.

The City of Galveston approved the Park Board’s request for a permit to allow the beachfront

construction of the Stewart Beach Drainage Project.4

       17.     The Stewart Beach Drainage Project redirected the flooding from Stewart Beach to

Porretto Beach. Since the construction of the Stewart Beach Drainage Project, the water from

Stewart Beach floods the Porretto Beach parking area interfering with the operation of the beach.

It appears as if the project was designed to flood Porretto Beach or the flooding is the result of

gross negligence in the design and/or construction of the Stewart Beach Drainage Project.

       18.     The flooding has caused Porretto Beach to lose substantial revenue and caused it to

incur costs to mitigate damages just months after opening for the first time in many years. The

damages include labor costs, opportunity costs, equipment rental costs to pump the water to the

Gulf, and repair costs. In addition, the flooding has and will further impact the topography of

Porretto Beach if not remedied.

       19.     Ms. Porretto is also limited in the ways she can mitigate the flooding damage from

Stewart Beach. While Porretto Beach has sand in other parts of the beach which could be moved

to mitigate the flooding in the Porretto Beach parking lot area, a permit would be required to

relocate the sand from one party of the property. The requirement of a permit is problematic

because the Defendants adopted false reports with manufactured data. Over the years, they have

asserted in various documents that Porretto Beach and other coastal properties were eroding when

they were actually accreting. The false reports and data are then relied upon in the permitting

process. This creates a catch-22 for Ms. Porretto. The permit process allows the Defendants to




4
 Galveston Mayor Craig Brown is a former member of the Galveston Park Board of Trustees and,
on information and belief, is aware of the Park Board’s history of improperly removing sand from
the beachfront of public and private property.
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essentially control and indirectly possess the property through the systemically flawed data caused

by the Park Board’s actions to excavate the shoreline.

       20.     If Ms. Porretto applies for a permit knowing that the Defendants used false data and

records, she becomes complicit in the scheme to mislead others that certain Galveston beach

property is naturally eroding when, in fact, there is natural accretion. In fact, several records used

by the Defendants over the years allege Porretto Beach is eroding and refers to all properties from

10th to 61st Street. The false statements that Porretto Beach was eroding are an improper continued

taking of the property rights related to Porretto Beach without consent of the property owner.

       History of Removing Sand from Beachfront

       21.     The Park Board apparently removes sand to decrease beachfront elevations.5 Then,

the decreased elevations are measured to support a finding that there is erosion. Once the

measurements show erosion, the Park Board qualifies for millions and millions of Federal and

State tax dollars for beach renourishment and grant funds -- year after year, decade after decade.

       22.     Through the Bankruptcy, Ms. Porretto was able to get the Park Board to stop using

their excavators and front-end loaders on the Porretto Beach property. After that occurred, Porretto

Beach had substantial accretion of sand.



5
  The Park Board’s scraping of the sand at the waterline has significant ramifications for all coastal
property. Coastal Area management is subject to 31 Tex. Admin Code Sec. 15.3(s)(4)(D)(i) which
requires the use of the University of Texas at Austin, Bureau of Economic Geology (“UTBEG”)
Shoreline Movement and Beach-Foredune Elevations and Volume, i.e., UTBEG Shoreline Study.
The UTBEG Shoreline Study relies on taking a Lidar Test to measure elevation. The Lidar Test is
taken at a specific location and is used to determine accretion and erosion rates. On information
and belief, the LIDAR tests for the UTBEG analysis were taken at the areas of the shoreline were
the Park Board excavated the shoreline creating artificially lower elevation captured in the Lidar
Test. On information and belief, the Park Board, City and GLO were aware of the Park Board’s
excavations and the inherent inaccuracies with the Lidar Test which would show arbitrarily low
elevations due to the excavation even if a property was accreting. The UTBEG Shoreline Study
is the basis for various State and Federal actions and funding for coastal property, including but
not limited to permitting and use of the property.

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       23.     The long-term effect of the Park Board’s sand removal from Porretto Beach has not

been remedied. The removal of the sand reduces the growth of the dry beach, which reduces the

property value. Further, sand can be sold and monetized if a private owner has too much sand.

Third, the damage caused by removing sand creates the need for projects like the Stewart Beach

Drainage Project to mitigate the damage caused over time by improperly removing sand. The Park

Board alleges it was only maintaining the beaches and any sand that was removed with seaweed

was minimal. However, there are numerous videos and pictures showing transport of front

loaders/excavators full of sand.

       24.     The allegations that the Park Board was removing sand are serious6. The

mismanagement of Galveston beaches impacts all residents, drainage calculations and

development in Galveston, not just Porretto Beach. If private property like Porretto Beach shows

significant accretion it makes it less plausible that the adjacent Park Board-managed public

beaches are naturally eroding.

       25.     Ms. Porretto’s goal is to have her property reflected correctly in the coastal

management documents maintained and used by all Defendants showing it is accreting and not

eroding; recognize her property rights to the submerged lands given her deed includes submerged

lands and mineral rights under the surface; stop the flooding; enforce the settlement agreement

with the Park Board where the Park Board agreed to provide lifeguards and pick up litter on the

beachfront; and, to be compensated for the continuing damage the Defendants are causing to

Porretto Beach.




6
 Ms. Porretto is not the only one who has raised concerns. The Chapter 7 Trustee raised similar
concerns to the Park Board. See, Id.
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         26.   While the Park Board is in breach of the settlement it entered into with Ms. Porretto

in this case7 and the Park Board’s improper actions continued even when the property was

controlled by the Chapter 7 Trustee, Ms. Porretto believes it would behoove all parties to consider

a global mediation to try to resolve this saga once and for all without another decade of more

litigation.8

                        V.     ADDITIONAL FACTUAL BACKGROUND

Where is Porretto Beach?

         27.   Porretto Beach operates along the Galveston East Seawall from 6th-10th, 11th-12th

and 26th-27th Streets. The beach at 6th – 10th Streets has been referred to as Porretto Beach Classic

and the beach at 26th to 27th Street has been called Porretto Beach West. Porretto Beach Classic is

adjacent to the public beach Stewart Beach and Porretto Beach West is near Pleasure Pier. The

Porretto Beach property was appraised in 2008 and valued at close to $10 million.

         28.   Porretto Beach, which runs along Galveston's coastline, is one of the rare sections

of the Texas coastline that is privately owned. It has been owned by the Porretto family since the

1950s.

         29.   Ms. Porretto fought against the General Land Office’s claim to ownership of the

property. The case ultimately went to the Supreme Court. See, Porretto v. Tex. Gen. Land Office,

448 S.W.3d 393 (Tex. 2014). However, at the time, the Court found that Ms. Porretto’s Takings

Claims were not ripe.

         30.   Below is graphic showing the Porretto Beach locations marked with the red

triangles:



7
  See, Doc. No. 195.
8
  In 2017, the City Council provided more authority to the Park Board to make expenditures than
the Charter allowed by the City and increased the amounts where a vote would be required to
approve an expenditure.
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31. These pictures below show Porretto Beach Classic from 6th to 10th Streets –




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32. Below are pictures showing Porretto Beach West:




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Abandonment of Porretto Beach by Chapter 7 Trustee

         33.   The Chapter 7 Trustee’s abandonment of the Porretto Beach property was approved

by the Bankruptcy Court on June 25, 2020, and reverted control of Porretto Beach to Ms. Porretto.

See, Doc. No. 748.

         34.    From that point forward, Ms. Porretto worked tirelessly to restore Porretto Beach

to a semblance of its former glory targeting Spring Break 2021 for a big reopening. While Ms.

Porretto was able to have limited operations in 2020 at Porretto Beach West, the section of Porretto

Beach adjacent to Stewart Beach, a public beach, opened for the first time since the abandonment

in March 2021 (hereinafter, “Porretto Beach Classic”).

         35.   The Abandonment Order provides for exclusive jurisdiction in the Bankruptcy

Court:


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Doc. No. 748, p. 7.

         36.       Upon abandonment, the ownership and control of the Porretto Beach property

reverted to Ms. Porretto. Ms. Porreto is the owner of the Porretto Beach Property and has standing

to raise these claims.9

         Porretto Beach Resumes Operations

         37.      When Ms. Porretto regained control of Porretto Beach in June 2020, it had not been

operated for some time and was in the middle of a global pandemic. She worked quickly to try to

clean up the beachfront of Porretto Beach West to be able to continue operations and generate

revenue.

         38.      Concerned that there could be other land grab efforts because she was told that there

has long-standing plan by local players to try to take control of Porretto Beach, she quickly set an

appointment with the County Tax Assessor’s office to discuss past-due taxes which accrued during

the 11 years of bankruptcy.

         39.      Ms. Porretto was concerned that certain objectors to the abandonment may have

acquiesced because the property could be purchased cheaper at a tax sale. A glib comment by the

City Attorney in a recent internal email obtained through a public information act request seems

to support Ms. Porretto’s concern was justified.




9
  To the extent any claim is deemed not to be abandoned by virtue of abandonment of the real property, Ms. Porretto
requests that the Chapter 7 Trustee substitute in for such claims and/or for the Court to provide Ms. Porretto authority
to pursue the claims for the Estate.

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          40.   On January 25, 2021, Ms. Porretto recorded a Notice of Termination of Private

Easement by Operation of Law Porretto Beach. The Notice ratified that the Beach Restoration

Easement granted to the City of Galveston in 1993 had terminated by operation of law.

          41.   Ms. Porretto successfully opened Porretto Beach Classic for Spring Break 2021 in

the last week of March.

          42.   Shortly thereafter, a resident sent a complaint to the Mayor Craig Brown about food

trucks setting up on Porretto Beach and other property in the City. The Mayor Craig Brown then

personally followed up on the complaint several times.

          43.   Around this time, Ms. Porretto learned of the Stewart Beach Drainage Project from

other residents who have property adjacent to Stewart Beach. They reached out to Ms. Porretto

because they were having similar problems with the Park Board and City that they read about in

the papers related to Porretto Beach.

          44.    On March 31, 2021, Ms. Porretto sent a lengthy letter detailing her concerns with

the Stewart Beach Drainage Project and treatment of landowners to a Councilmember.

          45.   By April 2, 2021, the Mayor reported to City Staff that Porretto Beach appears to

be operating. The Deputy Marshal was then instructed to “Be sure and check this multiple times a

day for [food truck] activity.” No such directive was given for any other property that had food

trucks.

          Ms. Porretto’s Cease and Desist Letter and City Attorney’s Response

          46.    On April 16, 2021, Ms. Porretto had the City and Park Board personally served

with a Demand to Cease, Desist and Objection (“Cease and Desist Letter”). The Cease and Desist

Letter included an objection to the Stewart Beach Drainage Project and the 2021 Seawall Beach

Renourishment Project. The allegations set forth in the Cease and Desist Letter are incorporated

herein by reference. See, Exhibit 1, Cease and Desist Letter.

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       47.         The City Attorney responded to Ms. Porretto’s Cease and Desist Letter with

numerous non-sequiturs, gas lighting, and patronizing misrepresentations like when he questioned

Ms. Porretto’s objection to the Stewart Beach Drainage Project stating “Quite to the contrary,

Stewart Beach is approximately ½ mile to the east of your property. Can you please state with

clarity your objection to a project that will take place nearly ½ mile away from your property?”

The City Attorney’s lack of knowledge of the Porretto Beach’s location and the fact that it is

adjacent to Stewart Beach is disconcerting at best.

       Park Board Resumes Harassment -- Litter Letter

       48.        On April 21, 2021, Mr. Nelson was sent a letter from the Park Board’s counsel

alleging that someone purportedly with Porretto Beach put numerous bags of trash near trash cans

managed by the Park Board is littering and may give rise to legal action against “Porretto”. See,

Exhibit 2 (“Litter Letter”).

       49.     The Litter Letter demonstrates the petty level of harassment the Park Board is

willing to engage in. The Litter Letter is non-sensical and inappropriate on several levels. First, it

fails to acknowledge the Park Board is responsible for the trash pick-up on Porretto Beach under

a Court-approved settlement signed by the very same attorney who sent the Litter Letter. See, Doc.

No. 195.

       50.     The key terms of the settlement are as follows:




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       Id. (emphasis added).

       51.     Second, the Litter Letter was sent to Mr. Nelson not Ms. Porretto, the owner of the

property. As such, it appears the letter is a personal threat that individuals helping Ms. Porretto

with operations could get dragged into legal actions. Third, the Litter Letter alleges “Like any

other private entity or person, Porretto is responsible for disposing of its own trash.” This statement

is simply not true. Trash collection is a core service offered by most municipalities in the Greater

Houston area. Galveston has a Public Works Department - Sanitation Division and people pay for

trash service via their water bill. Galveston residents do not have to contract with a private trash

company or buy stickers per bag for the trash to be picked up.

       52.     Another core service provided by municipalities is police and fire services. Ms.

Porretto does not get fair and equal protection for Porretto Beach. The City police do not act when

reports were made about the Park Board, including but not limited to reporting theft of sand.


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       53.     Finally, the letter escalates quickly from nonsensical to surreal stating:




       54.     The Park Board failed to honor the settlement agreement it entered into with Ms.

Porretto to pick-up the trash. Then, the Park Board uses its failure to pick-up the trash as a

sledgehammer when someone else dares to pick it up, bag it, and put the bags near the Park Board’s

trash receptacles.

       Stewart Beach Drainage Project Floods Porretto Beach

       55.     On April 22, 2021, the Galveston City Council held a workshop which dealt

extensively with the Stewart Beach development. There was also an evening Council meeting on

that date. Ms. Porretto, Mr. Nelson and Mr. Martin, among others, raised concerns with Stewart

Beach Drainage Project during the public comment at the Council meeting.

       56.     All of the Defendants play a role in approving the Stewart Beach Drainage Project.

The Park Board had to get the GLO to review the project and the City to approve a permit for the

beach construction project. The City is not supposed to approve a permit without the GLO review.

       57.     The Stewart Beach Drainage Project is commenced by the Park Board in May 2021.

Shortly thereafter, Porretto Beach Classic’s parking lot begins to flood from runoff coming from

Stewart Beach.

       58.     The design of the project includes a catchment which is supposed to catch overflow

but instead during heavy rain the catchment remains full and cannot drain because the elevation of

Porretto Beach is has a higher elevation than Stewart Beach since it has been naturally accreting.

The water then flows to Porretto Beach’s parking lot and floods it.




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       59.    Here is a picture of the June 25, 2021 flooding of the Porretto Beach property from

Stewart Beach runoff:




       60.    Before the Stewart Beach Drainage Project, the water remained on Stewart Beach

in a channel as shown in the picture below:




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                                 VI.     CAUSES OF ACTION

       61.     Plaintiff alleges the following causes of action together and in the alternative.

Count I: Taking of a Flowage Easement Without Just Compensation in Violation of the Fifth
Amendment of the United States Constitution

       62.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs.

       63.     Plaintiff alleges that the Defendants’ taking of a flowage easement for occurred

from no later than May 18, 2021 until such date that the Park Board remediates the problem and

prevents Porretto from being able to fully use, enjoy, and occupy her land and property.

       64.     The Defendants’ actions in connection with Stewart Beach Drainage Project

violated Plaintiff’s protectable property rights. Specifically, Plaintiff owns real property impaired

by the Defendants’ taking of flowage easement.

       65.     The damage is substantial.

       66.     The Defendants’ actions were a cause in fact and/or proximate cause of the taking.

The storage and invasion of waters from Stewart Beach on Porretto Beach was both the intended

and the direct, natural and probable result of the Stewart Beach Drainage Project.

       67.     The Defendants have not paid just compensation to Ms. Porretto for the public use

of her property.




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       Count II: The Taking of Other Property Interests Without Just Compensation in
Violation of the Fifth Amendment

       68.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs.

       69.     As both an intended and a direct, natural, and probable consequence of the Stewart

Beach Drainage Project, including the Defendants’ use of these projects, Plaintiff’s property was

subjected to actual flooding on at least six occasions so far and foreseeably in the future whenever

there are heavy rains.

       70.     The Defendant’s actions ran counter to Plaintiff’s reasonable investment-backed

expectations in the safety and security of her operating beachfront commercial property.

       71.     The Defendants have also surreptitiously and continously taken sand from Porretto

Beach without compensation and by taking the sand the Defendants also took away Porretto’s right

to have a proper elevation data record for the property showing the accretion.

       72.     The Defendants have also taken away Porretto’s property rights

       73.     The damage to Plaintiff’s protected property interests is severe. Plaintiff cannot use,

enjoy, or occupy the Porretto Beach property during high season where the City and local media

are reporting high tourism numbers. The Defendants’ actions were the cause-in-fact and proximate

cause of the taking. The storage and invasion of stormwaters onto Plaintiff’s real property was

both the intentional and the direct, natural, and probable result of the Defendants’ activity.

       74.     As a result of the foregoing, and in addition to, or in the alternative to, the other

causes of action asserted herein, Plaintiff has been deprived of the full use, occupancy, and

enjoyment of her property (including the land, immovable improvements, and personal property),

resulting in a taking of their property for a public use, without payment of just compensation.

       Count III: Inverse Condemnation

       75.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs.


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       76.     By surreptitiously entering the land owned by the Plaintiff, the Defendants failed

to compensate the Plaintiff for using her land. The Defendants intentionally have taken the land

owned by the Plaintiff without due process and just compensation. The Defendants' wrongful

actions constitute inverse condemnation at Texas common law

       Count IV: Breach of Settlement Agreement

       77.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs.

       78.     The Park Board has breached its settlement agreement with Ms. Porretto and should

be liable for the cost of the trash pick-up on the Porretto Beach property from June 25, 2021 until

present. And, be required to resume collection of the trash pursuant to the terms of the settlement

agreement.

       79.     The Park Board should also be required to provide a lifeguard on Porretto Beach as

required under the settlement agreement.

       80.     The Park Board’s failure to comply with the terms of the settlement constitute a

breach of contract at Texas common law.

       Count V: Tortious Interference, Harassment and Retaliation

       81.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs.

       82.     The Park Board and City have interfered with Ms. Porretto’s business relationships

retaliated against her and harassed her.

       83.     These are tort claims for which she should be entitled to fair and just damages.




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                                             PRAYER
Plaintiff prays that the Court:
         A. Enter judgment in Plaintiff’s favor against the Defendants finding that Plaintiff is
entitled to recover just compensation for the takings alleged above and such other appropriate relief
as the Court deems just and proper in an amount to be determined by the trier of fact.
       B. Award Plaintiffs her reasonable and necessary attorney’s fees, litigation expenses, and
court costs, including appraisal, expert witness, and engineering fees, pursuant to 42 U.S.C. §
4654(c), plus appropriate interest, compounded), legal interest pursuant to 28 U.S.C. § 1961, 28
U.S.C. § 1920;
        C. Enter a Judgment in favor of the Plaintiff on all other Counts and award of atorneys
fees, interest and post-judgment interest; and,
     D. Award Plaintiff all other general, legal, and equitable relief which this Court is
empowered to provide, and to which Plaintiff is entitle
       Dated: June 25, 2021.

                                                      Respectfully submitted,

                                                      /s/ Deirdre Carey Brown
                                                      Deirdre Carey Brown, pllc
                                                      State Bar No. 24049116
                                                      FORSHEY & PROSTOK LLP
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